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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO




Civil Action No. ______________

OUTSIDE INTERACTIVE, INC.,

        Plaintiff,
v.

JOSHUA BOLIN et al.,

        Defendants.



     PLAINTIFF’S COMBINED MOTION FOR TEMPORARY RESTRAINING ORDER
                       AND PRELIMINARY INJUNCTION




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         Plaintiff Outside Interactive, Inc. (“Outside”) hereby applies ex parte for a

Temporary Restraining Order and Order to Show Cause Why a Preliminary Injunction

Should Not Issue, pursuant to Federal Rule of Procedure 65 and Section 34 of the

Lanham Act, 15 U.S.C. § 1116. Outside respectfully requests that the Court immediately

order Defendants Joshua Bolin and Westlake Securities, LLC (“Westlake Securities” and

together with Mr. Bolin, “Defendants”) to cease and desist from operating the website (the

“Infringing Website”) at www.outside.com (the “Infringing Domain Name”), and that Bolin,

the owner, provisionally transfer the Infringing Domain Name to Outside or, in the

alternative, be prohibited from selling, transferring, or otherwise disposing of the Infringing

Domain Name.




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I.            INTRODUCTION

              Through this ex parte application, Outside respectfully requests that the Court

     immediately order Defendants cease and desist from operating an infringing website (the

     “Infringing Website”) at www.outside.com (the “Infringing Domain Name”), and that Bolin,

     the owner, provisionally transfer the Infringing Domain Name to Outside or, in the

     alternative, be prohibited from selling, transferring, or otherwise disposing of the Infringing

     Domain Name. Urgent intervention is necessary, as Defendants have recently posted on

     the Infringing Website at that Infringing Domain Name, and have repeatedly threatened

     to sell the Infringing Domain Name to a third party, putting it out of Outside’s reach, should

     Outside not meet Defendants’ extortionate purchase price.

              For decades, Outside has been a leading provider of active lifestyle content, video,

     events, and services for outdoor enthusiasts and now reaches 80 million consumers

     across its network of 25 media, digital, and technology platforms. Defendants, taking

     advantage of Outside’s careful cultivation of its brand and long-standing reputation, have

     attempted to use the Infringing Domain Name as a vehicle for extracting what is akin to a

     ransom payment. Specifically, Defendants launched the Infringing Website which

     purports to offer the very same services as Outside offers under the Infringing Domain

     Name, resulting in—by Defendants’ own admission—confusion by the public and other

     damage to Outside’s brand.

              Given how seriously Outside takes protection of its intellectual property, and plainly

     willfully blind to the law, Defendants believed Outside would pay any price to stop a

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potential competitor from holding the Infringing Domain and the confusion that

Defendants intentionally manufactured. Defendants made frequent attempts to compel

Outside to write an eight-figure check under duress including, for example, by placing

time deadlines on Outside to accept their offer, or lose the Infringing Domain Name to a

third-party buyer. Outside was unwilling to bend to their demands—which amounted to

illegal cybersquatting.

         Further still, in the attempt to extract the largest profit possible, Defendant Bolin

(with encouragement by Westside Securities) has infringed and continues to infringe

Outside’s trademarks with full knowledge of Outside’s exclusive rights and with deliberate

intention to cause mistake and confuse or deceive the general public as to the affiliation,

connection, or association of the Infringing Website with Outside. Accordingly, Outside

requires this Court’s immediate intervention to prevent further damage caused by

Defendants’ various violations of the Lanham Act. As set forth in detail herein, Outside

satisfies all the relevant criteria for the issuance of an ex parte temporary restraining order

and a preliminary injunction.

         First, Outside is likely to succeed on the merits of its cybersquatting claim because

it owns long-distinctive trademarks, Defendants have registered and used an admittedly

identical domain name to those distinctive trademarks, and Defendants have attempted

to extract an extortionate price for the sale of the domain to Outside—the “quintessential”

example of bad faith intent to profit. Similarly, Outside is likely to succeed on its

infringement claims because its trademarks are valid, federally-registered trademarks

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  (many of which are incontestable) and Defendants’ actions have led to a likelihood of

  confusion that the Infringing Domain Name and Infringing Website are affiliated with

  Outside, when they are not.

           The other factors are easily met here. Where, as here, a trademark plaintiff

  establishes a likelihood of success on liability, irreparable harm is presumed. The balance

  of hardships unquestionably and overwhelmingly favors Outside, as the only “harm” to

  Defendants would be the loss of their ability to extort Outside and confuse consumers—

  or, in other words, the loss of the ability to unfairly profit from their illegal and infringing

  activities. And the public has an interest in avoiding customer confusion resulting from

  cybersquatting and, further, because Outside has established that Defendants’ use is

  likely to cause, and has caused confusion, it follows that if such use continues, the public

  interest would be damaged. Outside has met all the requirements for an ex parte order—

  including showing that Defendants would be likely to put the Infringing Domain Name

  beyond Outside’s reach. In light of the foregoing, Outside respectfully requests that the

  Court grant its requested relief.

II.        FACTUAL BACKGROUND

           A.    Outside’s Intellectual Property Rights

           For decades, Outside has been a leading provider of active lifestyle content, video,

  events, and services for outdoor enthusiasts. Declaration of Sam Gorman (“Gorman

  Decl.”) ¶ 2. Outside currently reaches 80 million consumers across its network of 25



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 media, digital, and technology platforms. Id. Outside has been using the trademark

 OUTSIDE® for informational publications pertaining to recreation since 1976, before the

 internet was founded. Declaration of Eleanor M. Lackman (“Lackman Decl.”) ¶ 2.

          Outside’s trademark rights and portfolio have since grown dramatically. See id. ¶¶

 2-4. It launched its magazine Outside, which provides information in the fields of outdoor

 sports, fitness, and recreational activities, in November 1994. Id. ¶ 2. In the mid-to-late

 1990s, Outside added an online presence, television channel, travel, transportation, and

 retail store offerings and a book imprint. Id. It has offered travel agency services for more

 than a decade—not to mention various other goods and services under dozens of sub-

 brands offered by, and recognized as affiliated with, Outside. Id.; Gorman Decl. ¶ 2. This

 includes “Scout – powered by Outside AI,” Outside’s AI-powered adventure concierge,

 which launched in January 2024. Gorman Decl. ¶ 2.

          Outside owns all right, title, and interest in and to the marks in its OUTSIDE® family

 of marks, including but not limited to OUTSIDE®, OUTSIDE BOOKS®, OUTSIDE

 FILMS®, OUTSIDE GO®, OUTSIDE ONLINE®, OUTSIDE TELEVISION®, OUTSIDE

 TV®, OUTSIDE EVENTS®, and various designs and stylizations thereof (collectively, the

 “OUTSIDE® Marks”). Lackman Decl. ¶¶ 3-4. As a result of (a) Outside’s consistent and

 exclusive use of the OUTSIDE® Marks, (b) Outside’s extensive advertising of its services

 offered under the OUTSIDE® Marks, and (c) the mass popularity and extensive reach of

 Outside platforms, Outside has created substantial goodwill in its OUTSIDE® Marks

 across the United States (and beyond). See id.; Gorman Decl. ¶ 2. To further protect its

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 valuable names and brand, Outside has obtained multiple federal trademark registrations

 for the OUTSIDE® Marks (the “Registrations”). See Lackman Decl., Ex. A. Outside

 obtained the first of these Registrations in 1988 based on a first use date in commerce of

 November 1, 1976. Lackman Decl. ¶ 4.

          As identified in the Registrations, Outside has offered and continues to offer a wide

 variety of online services in connection with the OUTSIDE® Marks. See Lackman Decl.,

 Ex. A; Compl. ¶ 15. The Registrations for the OUTSIDE® Marks are in full force and

 effect, and the vast majority have become incontestable pursuant to 15 U.S.C. § 1065.

 See Lackman Decl., Ex. A; Compl. Ex. A.

          B.     Defendants’ Unlawful and Infringing Actions

          The Infringing Domain Name was first registered in 1993, after OUTSIDE®

 became a registered trademark of Outside, by a third party other than Defendants. The

 Infringing Domain Name continued to transfer hands until Defendant Bolin ultimately

 came to own it at some point in time. 1

          For several years, no content appeared at the Infringing Domain Name, but that

 changed in late April 2024, when Bolin through David Hill, a managing director for


 1 In 2006, Outside’s predecessor-in-interest brought a complaint against First Place
 Internet, Inc., another prior owner, not Defendants, before the World Intellectual Property
 Organization Arbitration and Mediation Center (”WIPO”) seeking transfer of the Infringing
 Domain Name, pursuant to the Uniform Domain-Name Dispute Resolution Policy
 (UDRP). See Mariah Media Inc. v. First Place Internet Inc., Case No. D2006-1275. The
 complaint was unsuccessful as, at that time, under WIPO’s standards, there was no
 evidence that the website at the domain name at the time was not illegitimate, and there
 was no evidence that the owner had registered or used the domain name in bad faith.

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 Defendant Westlake Securities, which purported to act on behalf of Bolin, contacted

 Outside with a proposal: to sell the Infringing Domain Name to Outside. Gorman Decl. ¶

 3. While Defendants continued to pitch to Outside, Outside discovered that in addition to

 Bolin’s plan to commercialize the Infringing Domain Name by trying to sell it, Bolin had

 launched the Infringing Website. Id. It became apparent that Defendants intended to

 extort Outside through this sale. See id. ¶¶ 4-5. Outside was troubled by this development

 but, knowing that the cost of litigation is high, started with a pragmatic approach.

 Accordingly, Outside and Defendants engaged in a series of conversations from April to

 June 2024, attempting to negotiate a potential purchase at a reasonable price, one that

 would have to be much lower than the price of suing to obtain the Infringing Domain

 Name. Id. ¶ 4.

          However, Defendants were uninterested in a reasonable resolution; in fact, they

 took the overture as a basis to escalate. For instance, during the course of these

 discussions, Defendants claimed the Infringing Website offered various services,

 including an AI-driven search engine for outdoor activities. Id. Defendants expressly

 indicated that their OUTSIDE-branded site would threaten what Defendants incorrectly

 characterized as Outside’s “old-school publisher”-based business model, and that

 acquiring it (at an exorbitant price) could “save Outside’s business.” Id. Defendants made

 it clear that the Infringing Website would take traffic and readers from Outside and those

 familiar with the Outside brand, capitalizing and free-riding on Outside’s reputation and

 brand, which was likely to confuse some segment of the public into thinking that Outside

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 was associated with the Infringing Website. Id. Indeed, they admitted that individuals had

 mistakenly contacted them through emails at the Infringing Domain Name, including

 providing sensitive information, on the false belief that they were corresponding with

 Outside. Id. Defendants further explained that the Infringing Website had received

 significant traffic on the back of the Outside name and brand, thereby clearly capitalizing

 on the confusion of consumers. Id.

          Defendants demanded that because of this confusion—created as a result of their

 unauthorized trading on Outside’s goodwill in the OUTSIDE® Marks—Outside should pay

 a staggering number of between 15 million and 25 million dollars to purchase the

 Infringing Domain Name. Id. ¶ 5. Defendants postured that other buyers (including a

 “large retailer” that purportedly would find such price “immaterial’) had expressed interest

 in purchasing the Infringing Domain Name. Id. Defendants leveraged this point to claim

 that unless Outside met Defendants’ extortionate price, they would either proceed with

 their competing “AI-driven” business model or the Infringing Domain Name would be lost

 to another buyer. Id. Defendants even went so far as imposing a time window on certain

 offers to purchase it; otherwise they would continue with their infringing business or sell

 the Infringing Domain Name to a competitor—tantamount to holding the domain name as

 a type of ransom. 2 Id.


 2 Prior to Defendants revealing their malicious intentions and unlawful demands, Outside

 and Bolin entered into a non-disclosure agreement regarding the anticipated business
 discussion. Gorman Decl. ¶ 5. Under the circumstances, the agreement should not bar
 Outside from presenting the facts relevant to this case otherwise it would “prevent

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          A review of the Infringing Website makes clear how Defendants manufactured the

 confusion underlying their demands. At least until around early August (shortly after

 Defendants’ receipt of a communication from Outside’s counsel), the Infringing Website

 purported to, and did, offer the very same services that Outside offers in connection with

 its OUTSIDE® Marks. Id. ¶ 6, Ex. A. The “About Us” page of the Infringing Website page

 stated “[u]tilizing advanced AI algorithms, we analyze your preferences, past activities,

 and search patterns to suggest the outdoor experiences most exciting to you and your

 family . . . making booking and buying the essentials for your outing faster and more

 intuitive than ever before.” Id. The Infringing Website also supposedly provided “real-time

 information on weather conditions, trail updates, and even crowd sizes, helping you make

 the most informed decisions” and gave consumers the ability to “[c]onnect with fellow

 outdoor lovers, share experiences, and get inspired.” Id. Further, the Infringing Website

 also purported to offer travel booking services for outdoor experiences, retail services for

 outdoor products, and location-based map services. Id. Indeed, as a simple search on

 the Infringing Website shows, the Infringing Website returns content on outdoor

 experiences, travel planning, products and other similar information. Id. All of this overlaps

 with Outside’s business. See id. ¶ 2; Lackman Decl. ¶ 2 & Ex. A; Compl. ¶ 15.




 presentation of relevant, truthful evidence to a fact-finder and court.” Otter Prod., LLC v.
 Seal Shield, LLC, No. 13-CV-01734-MSK-MJW, 2014 WL 1213475, at *6 (D. Colo. Mar.
 24, 2014). Thus, “[e]nforcement of such provision clearly would not serve the public
 interest and likely is void as against public policy.” Id. Further, Bolin’s approach and
 proposed sale price is not “confidential information” in any event.

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          The copyright notice on the Infringing Website identified “Outside” as the owner of

 the website—not Bolin, Outside.com, or any other third party, but “Copyright © 2024

 Outside.” Gorman Decl. ¶ 8, Ex. C. Further still, searching the terms “outside” or

 “outside.com” in the search bar on the Infringing Website not only returned an article

 about planning outdoor experiences but also Outside’s stylized OUTSIDE® mark, which

 depiction hyperlinks to an article about Outside’s publication Outside and gives off the

 impression that outside.com is Outside’s website:




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 Id. ¶ 9, Ex. D.

          Upon realizing Defendants’ intent to trade on Outside’s goodwill and use the

 resulting likelihood of confusion to extort Outside for at least $15 million, Outside wrote to

 Defendants through counsel on June 28, 2024 to advise Defendants of their unlawful and

 infringing acts and to seek a resolution short of litigation. Id. ¶ 10. Bolin, without copying

 Westlake Securities, responded later that day, indicating it would not entertain any such

 resolution. Lackman Decl. ¶ 8. On July 15, 2024, counsel for Outside sent one more letter

 to Bolin in a final attempt to avoid litigation. Id. As of the date of filing, neither of the

 Defendants have replied to the latest communication they received. Id.

          Rather, it appears that Defendants have escalated their unlawful conduct. Since

 sending the letter of July 15, 2024, the Infringing Website now features a “Partner With

 Us” page soliciting brand and affiliate partners. Gorman Decl. ¶ 11, Ex. E. Notably, the


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 notice identifying “Outside” as the owner of the Infringing Website was directly below the

 “Partner With Us” hyperlink—a clear attempt at misleading potential partners seeking

 affiliate revenue into falsely believing they are doing business with Outside. Id. (The

 Infringing Website now identifies “Outside.com” as the owner. See id., Ex. F.)

          Then, in a gesture of defiance at the suggestion that extortion and unfair

 competition might be illegal, in or around the first week of August, 2024, Bolin updated

 the content of the Infringing Website. See id. ¶ 12, Ex. F. For example, the “About us”

 page now refers to the operator of the site being “an American software company

 dedicated to unraveling the intricacies of God’s creation through the lens of advanced

 technology.” Id. Among other things, the updated Infringing Website claims it offers a

 “Gardening and Plants Large Language Model (GPLLM)”—an enormous artificial

 intelligence system that advertises as its value the ability of this AI to tell you when it is

 best to water your plants and which solutions help kill pests. Id.

          Nonetheless, a search for “Outside.com” has continued to return a description of

 Outside, a reference to Outside’s website, and a link to Outside’s website. Id. ¶ 9.

 Evidently, Defendants’ attempt to cover their tracks has failed, and Defendants’ flippant

 and erratic behavior, showing disregard for the law and the value of (and injury to)

 Outside’s rights, is just more of the same in Defendants’ misguided efforts to menace

 Outside into paying an eight-figure sum to keep its rights from being trampled upon.




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III.        LEGAL STANDARD

            To obtain a preliminary injunction, a Plaintiff must show: (1) it is likely to succeed

   on the merits of its claim, (2) the denial of the injunction would result in irreparable harm,

   (3) a balancing of equities favors the injunction, and (4) an injunction is consistent with

   the public interest. Derma Pen, LLC v. 4EverYoung Ltd., 773 F.3d 1117, 1119 (10th Cir.

   2014). For injunctions that alter the status quo or mandatory preliminary injunctions

   requiring the non-moving party to take some affirmative action, the movant “must make a

   strong showing both with regard to the likelihood of success on the merits and with regard

   to the balance of harms[.]” O Centro Espirita Beneficiente Uniao Do Vegetal v. Ashcroft,

   389 F.3d 973, 975-76 (10th Cir. 2004), aff'd and remanded sub nom. Gonzales v. O

   Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418 (2006). 3

            Under the Trademark Modernization Act, a plaintiff seeking a temporary restraining

   order or preliminary injunction on the basis of trademark claims arising under the Lanham

   Act “shall be entitled to a rebuttable presumption of irreparable harm upon ... a finding of

   likelihood of success on the merits.’” Rylee & Cru, Inc. v. Zhu, No. 23-CV-00120-PAB,

   2023 WL 2187480, at *3 (D. Colo. Feb. 23, 2023) (Brimmer, J.) (quoting 15 U.S.C. §

   1116(a) (alterations in original)); see also Trial Laws. Coll. v. Gerry Spence Trial Laws.

   Coll. at Thunderhead Ranch, 23 F.4th 1262, 1270 (10th Cir. 2022) (“Congress amended


   3 Outside seeks affirmative interim relief only as to the disabling of the Infringing Website

   during the pendency of this proceeding, as well as the temporary transfer of the Infringing
   Domain Name to ensure that Defendants do not make good on their threats to sell it to
   some third party that is beyond the Court’s reach. See Lackman Decl. ¶¶ 5-7.

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 the Lanham Act to expressly allow a presumption of irreparable injury when the owner of

 a trademark proves likelihood of success on the merits”).

          “Public interest can be defined a number of ways, but in a trademark case, it is

 most often a synonym for the right of the public not to be deceived or confused.” Big O

 Tires, Inc. v. Bigfoot 4X4, Inc., 167 F. Supp. 2d 1216, 1228 (D. Colo. 2001) (citations

 omitted). Moreover, “[t]he public has an interest in avoiding customer confusion resulting

 from cybersquatting.” See Rylee & Cru, 2023 WL 2187480, at *3.

          The standards governing consideration of an application for a temporary

 restraining order are the same standards as those which govern a preliminary injunction.

 Bella Health & Wellness v. Weiser, 669 F. Supp. 3d 1125, 1129 (D. Colo. 2023). In

 addition, an ex parte temporary restraining order may be granted where “specific facts in

 an affidavit or a verified complaint clearly show that immediate and irreparable injury, loss,

 or damage will result to the movant before the adverse party can be heard in opposition.”

 Fed. R. Civ. P. 65(b). Further, under the Lanham Act, “a court may order the forfeiture or

 cancellation of the domain name or the transfer of the domain name to the owner of the

 mark.” 15 U.S.C. § 1125(d)(1)(C); Rylee & Cru, 2023 WL 2187480, at *3 (granting

 application for temporary restraining order ordering the transfer of an infringing domain

 name to plaintiff).

          The Lanham Act also expressly authorizes this Court to issue ex parte restraining

 orders “with respect to a violation [of the Act] that consists of using a counterfeit mark in

 connection with the sale, offering for sale, or distribution of goods or services.” 15 U.S.C.

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 § 1116(d)(1)(A). 4 This constitutes a separate, additional ground for the requested relief.

 Specifically, the Lanham Act provides that a court may grant an ex parte order for seizure

 of counterfeit marks upon a showing that the plaintiff will provide adequate security, in an

 amount to be determined by the court, and that (i) any order other than an ex parte order

 is not adequate to achieve the purposes of 15 U.S.C. § 1114; (ii) the plaintiff has not

 publicized the requested ex parte order; (iii) the plaintiff is likely to succeed in showing

 that defendants are using counterfeit marks; (iv) an immediate and irreparable injury will

 occur if such ex parte order is not granted; (v) the materials to be seized will be located

 at the place identified in the application; (vi) the harm to the plaintiff in denying the

 application outweighs the harm to defendants in granting the order and (vii) if prior notice

 was given, defendants would destroy, move, hide or otherwise make such matter

 inaccessible to the Court. 15 U.S.C. § 1116(d)(4)(A)-(B).

          As discussed below, Outside meets each of the relevant criteria for a preliminary

 injunction and for the issuance of an ex parte temporary restraining order under the

 Lanham Act.




 4 One purpose of such ex parte remedies is to prevent counterfeiters given prior notice

 from disappearing or quickly disposing of infringing inventory or records relating to their
 counterfeiting and illegal actions. See Senate-House Joint Explanatory Statement on
 Trademark Counterfeiting Legislation, l30 Cong. Rec. H12076, at 12080 (Oct. 10, 1984).


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IV.        ARGUMENT

           A.     Outside is Likely to Succeed on the Merits at Trial of this Action

                  1.    Outside is Likely to Succeed on Its Cybersquatting Claims

           A plaintiff will prevail on a claim for cybersquatting under Section 43(d) of the

  Lanham Act, if it establishes: (1) that its trademark was distinctive at the time of the

  defendant's registration of the domain name; (2) that the domain name registered,

  trafficked in, or used by the defendant was identical or confusingly similar to the

  trademark; and (3) that the defendant used or registered the domain name with a bad

  faith intent to profit. Crossfit, Inc. v. 5280 Realty, Inc., 157 F. Supp. 3d 954, 957-58 (D.

  Colo. 2016) (hereinafter, “5280 Realty”). The evidence establishes each element here.

           First, the OUTSIDE® Marks were distinctive at the time of Bolin’s registration of

  the Infringing Domain Name. “The owner of a mark on the principal register enjoys

  ‘valuable benefits,’ including a presumption that the mark is valid” and “[t]he most

  distinctive marks . . . may be placed on the principal register because they are ‘inherently

  distinctive.’” United States Pat. & Trademark Off. v. Booking.com B.V., 591 U.S. 549, 552

  (2020). Here, Outside holds a trove of Registrations on the Principal Register, thus

  establishing their distinctiveness. See Lackman Decl, Ex. A; CrossFit, Inc. v. Jenkins, 69

  F. Supp. 3d 1088, 1098 (D. Colo. 2014) (hereinafter, “Jenkins”) (finding registration of a

  trademark evidences the distinctiveness of the mark in cybersquatting claim).

            Additionally, “the court may consider several factors, including the degree of

  inherent or acquired distinctiveness of the mark, the duration and extent of use of the

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 mark in connection with the goods or services with which the mark is used, and the

 duration and extent of advertising and publicity of the mark, among others.” 5280 Realty,

 157 F. Supp. 3d at 958. Each of these factors favor Outside. It has been using the

 OUTSIDE® Marks exclusively for decades. See Lackman Decl. ¶¶ 2-4. Its efforts in

 promoting, maintaining, and protecting its OUTSIDE® marks have created considerable

 goodwill in those marks. Consumers in the United States (and across the world) associate

 the OUTSIDE® Marks with Outside alone. See id.; Gorman Decl. ¶ 2. And the OUTSIDE®

 Marks have a high amount of publicity as shown by the nearly 80 million consumers that

 use its services. See Gorman Decl. ¶ 2. As such, the evidence clearly establishes that

 Outside has “amass[ed] considerable goodwill within its industry”; the OUTSIDE® Marks

 are “ widely recognized around the world”; “[c]onsumers readily and singularly associate

 the [OUTSIDE® Marks] with [Outside’s] business and services”; and that Outside

 “protects its intellectual property through, inter alia, trademark and service mark

 registration[.]” Jenkins, 69 F. Supp. at 1098. Thus, the OUTSIDE® Marks have been

 distinctive for many years, including when Bolin re-registered the Infringing Domain

 Name. 5




 5 Given Outside had registered its OUTSIDE mark on the Principal Register in 1988, the

 mark was also distinctive at the time of the initial registration of the Infringing Domain
 Name by a third party in 1993. See Lackman Decl. ¶¶ 2, 4.


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          Second, Bolin, by his admission, has registered and uses the Infringing Domain

 Name, outside.com. 6 Outside.com is at minimum confusingly similar, if not identical, to

 the mark OUTSIDE® and family of OUTSIDE® Marks, as it copies the root mark

 OUTSIDE® in its entirety. The addition of the generic suffix “.com” does nothing to change

 this analysis. See Ball Dynamics Int'l, LLC v. Saunders, No. 16-CV-00482-NYW, 2016

 WL 7034974, at *7 (D. Colo. Dec. 1, 2016) (finding URLs confusingly similar to plaintiff’s

 mark as they “merely change the domain extension”); see also 5280 Realty, 157 F. Supp.

 3d at 958-59 (similar; collecting cases). Thus, there can be no real dispute that Bolin

 registered, trafficked in, or used a domain name identical or confusingly similar to

 Outside’s trademarks. See Jenkins, 69 F. Supp. 3d at 1096-99; 5280 Realty, 157 F. Supp.

 3d at 958-60. 7


 6 While Outside had rights predating the first registration date, the fact that the domain

 name existed as far back as 1993 is irrelevant to any current analysis. Both re-registration
 and current use of a domain name can create liability under Section 43(d). See, e.g.,
 Prudential Ins. Co. of Am. v. Shenzhen Stone Network Info. Ltd., 58 F.4th 785, 796 (4th
 Cir. 2023) (to “register” means not just the first registration, but any subsequent re-
 registration); Schmidheiny v. Weber, 319 F.3d 581, 583 (3d Cir. 2003) (same); Newport
 News Holdings Corp. v. Virtual City Vision, Inc., 650 F.3d 423, 436 (4th Cir. 2011) (shifting
 in activities from informational to acting as a commercial competitor led to inference of
 bad faith). According to the public records of the Internet Corporation for Assigned Names
 and Numbers (ICANN), the Infringing Domain Name was re-registered on April 29, 2024.
 Lackman Decl. ¶ 10.
 7 Any effort by Defendants to try to invoke the 2006 UDRP proceeding (see n. 1, supra),

 will fail, and not only because the use then is different from now. The circuits that have
 looked into the question uniformly hold that UDRP decisions are not binding on federal
 courts. See, e.g., Storey v. Cello Holdings, LLC, 347 F.3d 370 (2d Cir. 2003);
 Barcelona.com, Inc. v. Excelentisimo Ayuntamiento de Barcelona, 330 F.3d 617 (4th Cir.
 2003); Sallen v. Corinthians Licenciamentos LTDA, 273 F.3d 14, 26 (1st Cir. 2001).

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          Third, and finally, “[t]he quintessential example of a bad faith intent to profit is when

 a defendant purchases a domain name very similar to the trademark and then offers to

 sell the name to the trademark owner at an extortionate price.” 5280 Realty, 157 F. Supp.

 3d at 960 (quoting Utah Lighthouse Ministry v. Found. for Apologetic Info. & Rsch., 527

 F.3d 1045, 1058 (10th Cir. 2008)). That is precisely what both Bolin and his agent

 Westlake Securities have done here. See Gorman Decl. ¶ 5. This alone would be

 sufficient to show Bolin’s bad faith intent to profit.

          Worse though, Defendants have admitted repeatedly that the purpose in

 registering and using the Infringing Domain Name has been to misdirect Outside’s

 consumers to the Infringing Website, even after Outside warned them of the potential

 confusion. See id. ¶¶ 4-5. This, too, evidences Defendants’ bad faith intent to profit. See

 Jenkins, 69 F. Supp. 3d at 1100-01 (finding bad faith from defendant’s continued use of

 a domain name after plaintiff informed him of a likelihood of confusion); Ball Dynamics

 Int'l, 2016 WL 7034974, at *7 (likely success on merits where defendant used URLs to

 divert traffic from plaintiff’s to defendant’s site); Am. Acad. of Husband-Coached Childbirth

 v. Thomas, No. 10-CV-2899-CMA-MEH, 2010 WL 5184779, at *5 (D. Colo. Dec. 15,

 2010) (similar).

          In light of the above evidence, which includes explicit admissions by Defendants,

 there can be no question Outside is likely to succeed on its cybersquatting claim.




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                2.     Outside is Likely to Succeed on Its Infringement Claims

          Claims for “trademark infringement (15 U.S.C. § 1114) and unfair competition (15

 U.S.C. § 1125(a)) . . . include the same elements: (1) [Plaintiff] has a protectable interest

 in the trademark. (2) [Defendant] has used an identical or similar trademark in commerce.

 (3) [Defendant] has likely confused customers by using a similar trademark.” Derma Pen,

 773 F.3d at 1120.

          First, the evidence establishes Outside has a protectable interest in the

 OUTSIDE® Marks. For one, Outside’s Registrations for the OUTSIDE® Marks constitute

 “prima facie evidence of both the mark's validity and the registrant's exclusive right to use

 it in commerce.” 1-800 Contacts, Inc. v. Lens.com, Inc., 722 F.3d 1229, 1238 (10th Cir.

 2013). Several of the Registrations have become incontestable pursuant to 15 U.S.C. §

 1065. See Compl., Ex. A; Lackman Decl., Ex. A. As such, these OUTSIDE® Marks are

 further “conclusively presumed nondescriptive” and the Registrations constitute

 “conclusive evidence” of Outside’s right to use the marks. Beer Nuts, Inc. v. Clover Club

 Foods Co., 805 F.2d 920, 924 (10th Cir. 1986). Thus, Defendants cannot genuinely

 dispute that Outside has valid and protectable rights in its OUTSIDE® Marks.

          Second, Defendant Bolin has used both identical and similar trademarks to the

 OUTSIDE® Marks in commerce. Not only does the Infringing Domain Name,

 outside.com, copy Outside’s word mark OUTSIDE® verbatim in its entirety, the Infringing

 Website also prominently features the word mark OUTSIDE® and purported to be owned




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 by “Outside.” See Gorman Decl. ¶¶ 6-9. Again, there can be no meaningful dispute that

 Bolin uses identical, if not highly similar, marks in commerce.

          Third, each of the six, non-exhaustive factors used to determine whether there is

 a likelihood of confusion favors Outside: “(1) the degree of similarity between the marks;

 (2) the intent of the alleged infringer in adopting its mark; (3) evidence of actual confusion;

 (4) similarity of products and manner of marketing; (5) the degree of care likely to be

 exercised by purchasers; and (6) the strength or weakness of the marks.” Affliction

 Holdings, LLC v. Utah Vap or Smoke, LLC, 935 F.3d 1112, 1115 (10th Cir. 2019).

          “[T]he degree of similarity is the most important factor,” id., and as noted above,

 the Infringing Website uses a counterfeit mark which copies Outside’s marks identically,

 weighing heavily in favor of a finding of likelihood of confusion. See id. Turning to the next

 two factors, Defendants have admitted—indeed, touted—they intend to mislead

 consumers into believing the Infringing Website is affiliated with Outside, and further, that

 there has been actual confusion, with consumers and potential business partners

 contacting Bolin expecting to reach Outside. See Gorman Decl. ¶ 4; Heartland Animal

 Clinic, P.A. v. Heartland SPCA Animal Med. Ctr., LLC, 503 F. App'x 616, 621 (10th Cir.

 2012) (citing misplaced consumer inquiries in upholding preliminary injunction); Cent.

 Bancorp, Inc. v. Cent. Bancompany, Inc., 385 F. Supp. 3d 1122, 1144 (D. Colo. 2019)

 (granting preliminary injunction on similar grounds).

          The Infringing Website also purported to and did provide the exact same services

 that Outside offers, and for which it holds Registrations covering (Lackman Decl., Ex. A),

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 including providing information, planning, and booking resources for recreational

 experiences, online community boards to connect with outdoors enthusiasts, online retail

 services of recreational products, and location-based mapping services, to name just a

 few. 8 See Gorman Decl. ¶¶ 6-9; Cent. Bancorp, Inc. v. Cent. Bancompany, Inc., 385 F.

 Supp. 3d 1122, 1144 (D. Colo. 2019) (granting preliminary injunction, highlighting

 “substantially overlapping services”). Given the nature of an online marketplace,

 consumers are not likely to exercise great care in selecting these services, especially

 considering the Infringing Domain Name and Infringing Website prominently feature a

 counterfeit of the OUTSIDE® word mark as well as when searching for the terms

 “outside” or “outside.com” Finally, Outside has used and promoted its OUTSIDE® Marks

 continuously for nearly half a century, resulting in 80 million consumers currently using

 Outside’s services that it offers in connection with the OUTSIDE® Marks, thus

 demonstrating their commercial strength. See Gorman Decl. ¶ 2; Lackman Decl. ¶¶ 2, 4.

          Thus, the evidence establishes a likelihood of confusion—confusion that Bolin has

 admitted he intends to cause and has been successful in causing.



 8 The recent updates to the Infringing Website do not change this analysis. While the

 “About Us” page has been altered, it still purports to provide information regarding certain
 recreational activities including through an AI-driven platform—both services that Outside
 offers in connection with its OUTSIDE® Marks, and presumably the Infringing Domain
 Name is still being offered to third parties, too. See, e.g., O'Banion v. Matevousian, No.
 19-CV-2517-WJM-KLM, 2020 WL 5559473, at *6 (D. Colo. Sept. 17, 2020) (finding
 defendants’ subsequent remedial measures were irrelevant to injunctive relief inquiry
 because the measures differed from “the relief Plaintiff ultimately seeks”).


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                3.     Outside is Likely to Succeed on Its Contributory Infringement

                       Claim

          “Contributory infringement occurs when the defendant either (1) intentionally

 induces a third party to infringe on the plaintiff's mark or (2) enables a third party to infringe

 on the mark while knowing or having reason to know that the third party is infringing, yet

 failing to take reasonable remedial measures.” 1-800 Contacts, 722 F.3d at 1249.

 Westlake Securities has been complicit in the attempted extortion of Outside in the sale

 of the Infringing Domain Name. Indeed, in the parties’ discussions, Westlake Securities,

 equally with Bolin, postured that the purpose of the Infringing Website was to steal traffic

 and consumers from Outside. See Gorman Decl. ¶¶ 3-5. These actions not only

 demonstrate its knowledge of Bolin’s infringement and that it did nothing to halt such

 infringement but also indicate that Westlake Securities encouraged Bolin to undertake the

 infringement so that Westlake Securities could drive the demanded purchase price (and

 thereby, its cut of the sale) higher. This supports a finding that Westlake Securities has

 committed contributory infringement. 1-800 Contacts, 722 F.3d at 1251; see Omega SA

 v. 375 Canal, LLC, 984 F.3d 244, 255 (2d Cir. 2021).

                                         *       *       *

          Given this evidence, which includes several incontestable trademark Registrations

 owned by Outside for the OUTSIDE® Marks and Defendants’ own admissions of bad faith

 intent to profit and actual confusion, Outside has made the requisite “strong showing” that

 it is likely to prevail on its claims for cybersquatting and trademark infringement under the

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 Lanham Act warranting the injunctive relief requested. See Rylee & Cru, 2023 WL

 2187480, at *2-3 (granting temporary restraining order directing transfer of domain name

 under analogous facts). 9

          B.     Outside is Suffering and Will Continue to Suffer Irreparable Harm

                 Absent Injunctive Relief in the Form of an Ex Parte Temporary

                 Restraining Order

          As an initial matter, where a trademark plaintiff establishes a likelihood of success

 on liability, irreparable harm is presumed. See 15 U.S.C. § 1116(a). Therefore, because

 Outside is likely to succeed on the merits (see supra Section IV.A.), it is entitled to a

 presumption of irreparable harm that favors preliminary relief, which Defendants must

 rebut. See, e.g., Rylee & Cru, 2023 WL 2187480, at *3 (“Because R & C has

 demonstrated a likelihood of success on the merits of its in rem cybersquatting claim, it

 is entitled to the presumption of irreparable harm.”). See also Trial Laws. Coll., 23 F.4th

 at 1270, 1273 (finding irreparable harm without relying on presumption because loss of

 goodwill is irreparable). Here, irreparable harm is irrefutable given the facts present here.

 See Lackman Decl. ¶¶ 2-4, 5-7; Gorman Decl. ¶¶ 2-11; Bray v. QFA Royalties LLC, 486



 9 Because of their unlawful actions in cybersquatting and trademark infringement as well

 as their transaction of business (providing services via the Infringing Website) within
 Colorado, this Court has personal jurisdiction over the Defendants. See Jenkins, 69 F.
 Supp. 3d at 1094 (personal jurisdiction warranted as a result of defendant’s business in
 Colorado and “commission of a tort in Colorado,” namely violation of the ACPA); Your
 True Nature, Inc. v. JF Show Store, No. 23-CV-00107-CNS-NRN, 2023 WL 2359234, at
 *2 (D. Colo. Feb. 14, 2023).

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 F. Supp. 2d 1237, 1249 (D. Colo. 2007) (loss of goodwill constituted irreparable injury).

 That Outside sought to resolve the matter before suing is irrelevant to the question here.

 RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1211-12 (10th Cir. 2009) (rejecting argument

 that time spent trying to resolve matter impacted irreparable harm).

          For at least these reasons, absent an ex parte temporary restraining order and

 preliminary injunction, Outside will suffer irreparable harm to the reputation and

 substantial goodwill it has developed in the OUTSIDE® Marks over decades. 10 Rylee &

 Cru, 2023 WL 2187480, at *3.

          C.    The Balance of Hardships Favors Outside

          The balance of hardships unquestionably and overwhelmingly favors Outside. As

 described above, Outside has suffered, and will continue to suffer, irreparable harm to its

 business, and the value, goodwill, and reputation built up in and associated with the

 OUTSIDE® Marks, as a result of Defendants’ willful and knowing cybersquatting and

 infringement. On the other hand, the only potential “harm” to Defendants is the loss of

 their ability to extort Outside—or, in other words, the loss of the ability to unfairly profit

 from their illegal and infringing activities. Thus, Defendants “brought this situation on

 themselves by setting up [the Infringing Website]” such that the harm would not be


 10 As above, the recent updates to the Infringing Website do nothing to address the harm

 Outside will suffer absent immediate injunctive relief. The Infringing Website still
 counterfeits the OUTSIDE® Marks and still purports to provide overlapping services with
 those offered by Outside. Moreover, Defendants have yet to respond to Outside’s
 correspondence and have the capacity to follow through on their repeated threats to put
 the Infringing Domain Name beyond Outside’s reach by selling it to a third party.

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 cognizable under this factor, especially when “vastly outweigh[ed]” by the “significant

 harm to the goodwill and reputation of the [OUTSIDE®] marks[.]” Am. Acad. of Husband-

 Coached Childbirth, 2010 WL 5184779, at *6 (D. Colo. Dec. 15, 2010).

          D.    Enjoining Defendants’ Activities Will Serve the Public Interest

          In a trademark case, public interest is “most often a synonym for the right of the

 public not to be deceived or confused.” Big O Tires, 167 F. Supp. 2d at 1228 (D. Colo.

 2001) (citations omitted); see also Rylee & Cru, 2023 WL 2187480, at *3 (“[t]he public

 has an interest in avoiding customer confusion resulting from cybersquatting.”). Because

 Outside has established that Bolin’s use is likely to cause confusion, and already has

 done so, “it follows that if such use continues, the public interest would be damaged,”

 warranting the requested injunctive relief. Big O Tires, 167 F. Supp. 2d at 1228. Further

 still, the public has an interest in being able to rely on the high quality of the services,

 particularly information on outdoor and recreational experiences, that Outside offers in

 connection with the OUTSIDE® Marks, and Outside cannot control Defendants’

 misinformation. See Jayme LLC v. Cheyenne Hotels LLC, No. 18-CV-01014-RBJ, 2018

 WL 6249690, at *5 (D. Colo. July 17, 2018) (“It is obviously not adverse to the public's

 interest to have accurate information published on the various online websites”).

          E.    Ex Parte Relief is Warranted

          In order for the Court to grant Outside’s requested ex parte temporary restraining

 order, Outside must set forth “specific facts in an affidavit or a verified complaint clearly

 show that immediate and irreparable injury, loss, or damage will result to the movant

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 before the adverse party can be heard in opposition,” and “the movant’s attorney certifies

 in writing any efforts made to give notice and the reasons why it should not be required.”

 Fed. R. Civ. P. 65(b)(1).

          Outside has identified specific facts sufficient to satisfy each of these requirements.

          First, Outside is already suffering immediate and irreparable injury, loss, or

 damage as a result of Defendants’ ongoing illegal activities. See supra Section IV.B. This

 harm will only be compounded if Defendants are permitted to continue their unlawful acts.

          Second, the requested ex parte relief without notice is necessary because if

 Defendants receive notice of this lawsuit, they are likely to dispose of the Infringing

 Domain Name as evidenced, for example, by their prior indication to Outside of other

 potential buyers of the Infringing Domain Name and their threats to sell to those buyers,

 often imposed with time limits. See Lackman Decl. ¶¶ 5-7; Statera, Inc. v. Henrickson,

 No. CIV.A. 09-CV-01684-J, 2009 WL 2169235, at *4 (D. Colo. July 17, 2009); U2 Home

 Entm’t, Inc. v. Chun Pook Tan, 209 F. Supp. 2d 299, 300 (S.D.N.Y. 2002) (ex parte relief

 is appropriate where, as here, injunctive relief with notice will not suffice because “a

 danger exists of destroying or transferring infringing goods[.]” (citation omitted)).

          Outside has also met each of the criteria for the issuance of an ex parte temporary

 restraining order under the Lanham Act for “a violation that consists of using a counterfeit

 mark[.]” 15 U.S.C. § 1116(d)(1)(A). The Infringing Domain Name, outside.com, is a

 counterfeit website as it misappropriates Outside’s registered word mark OUTSIDE®

 verbatim. See Rylee & Cru, Inc. v. Zhu, No. 23-CV-00120-PAB-STV, 2024 WL 2111572,

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 at *4 (D. Colo. May 10, 2024) (website that copied mark verbatim is “a counterfeit site”).

 With respect to the security requirement, the Act states the court may determine what

 security will be adequate to warrant the ex parte relief. Id. at § 1116(d)(4)(A). Here, in light

 of the lack of harm to Defendants, Outside respectfully submits that no security bond is

 necessary. See Cont’l Oil Co. v. Frontier Ref. Co., 338 F.2d 780, 782 (10th Cir. 1964) (“if

 there is an absence of proof showing a likelihood of harm, certainly no bond is

 necessary.”); Carranza v. Reams, 614 F. Supp. 3d 899, 921-22 (D. Colo. 2020) (waiving

 security requirement).

          Outside has certified that it has not publicized this application. Gorman Decl. ¶ 1.

 The Infringing Domain Name will be seized at Outside’s principal place of business

 located at 1600 Pearl St., Suite 300, Boulder, Colorado, as identified in the Proposed

 Order (though this requirement is essentially moot given that the Infringing Domain Name

 is digital). The remaining requirements (likelihood of success, immediate and irreparable

 injury, harm to Outside outweighs harm to Defendants, and Defendants would “make

 such matter inaccessible to the court, if the applicant were to proceed on notice to”

 Defendants) are established in the discussion above. See supra Sections IV.A-D.

          Accordingly, the ex parte temporary restraining order, as well as the preliminary

 injunction, is warranted here.




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V.        CONCLUSION

          In light of the foregoing, Outside respectfully requests that the Court grant the relief

 requested, immediately directing Defendants to cease and desist operation of the

 Infringing Website and provisionally transfer the Infringing Domain Name to Outside, until

 a preliminary injunction is decided.




 DATED: August 14, 2024                              Respectfully submitted,

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